                                                                                L A W O F FI C E S O F

                                                                        J E F F R E Y LI C H T M A N
                                                                              II E A S T 4 4   T H   ST R E ET

                                                                                      S UI T E S Ol

                                                                         N E W Y O R K, N E W Y O R K 1 0 0 1 7

J E F F R E Y LI C H T M A N                                               w w w.j effr e yli c ht m a n. c o m
                                                                                                                                                         P H: ( 2 1 2) 5 8 1- 1 0 0 1
J E F F R E Y EI N H O R N                                                                                                                               F X: ( 2 I 2) 5 8 1- 4 9 9 9
P A UL T O W N S E N D

                                                                                      M ar c h 4, 2 0 1 9

              VI A E C F
              H o n. E d g ar d o R a m os
              U nit e d St at es Di stri ct J u d g e
              S o ut h er n Di stri ct of N e w Y or k
              4 0 F ol e y S q u ar e
              N e w Y or k, N e w Y or k 1 0 0 0 7

                               R e:      U nit e d St at e s v. L a m o nt E v a n s, ct aI., 1 7 C R 6 8 4 ( E R)

              D e ar J u d g e R a m os:

                           I a m writi n g o n b e h alf of d ef e n d a nt T o n y Bl a n d t o r es p e ctf ull y r e q u e st a t hr e e- w e e k
              a dj o ur n m e nt of t h e d ef e n d a nt' s A pril 2, 2 0 1 9 s e nt e n ci n g. T h e r e a s o n f or t his r e q u e st is t h at
              c o u ns el h as n ot y et r e c ei v e d t h e d ef e n d a nt' s pr e s e nt e n c e i n v e sti g ati o n r e p ort, a n d a c c or di n gl y, its
              r e c ei pt will f all o utsi d e of t h e 3 5 d a y n oti c e p eri o d s et b y R ul e 3 2( e)( 2). T o b e s ur e, Mr. Bl a n d' s
              pr e s e nt e n c e i nt er vi e w h as alr e a d y o c c urr e d, h o w e v er, t h er e h as b e e n a d el a y wit h r e g ar d t o o ur
              r e c ei pt of c ert ai n st at e m e nt s c o n c er ni n g Mr. Bl a n d' s fi n a n ci al c o n diti o n. T h e a dj o ur n m e nt t h at
              w e s e e k will p er mit us a n o p p ort u nit y t o pr o vi d e Pr o b ati o n wit h t h e r e q uir e d d o c u m e nt s f or
              i n cl u si o n i n t h e r e p ort.

                         T h a n k y o u f or y o ur c o n si d er ati o n o n t his a p pli c ati o n; I r e m ai n a v ail a bl e f or a c o nf er e n c e
              s h o ul d t h e C o urt d e e m it n e c ess ar y.


                                                                                      R es p e ctf ull y s u b mitt e d,



                                                                                     Je:;:f M                                    T h e s e nt e n ci n g i s h er e b y
                                                                                                                                 a dj o ur n e d t o A pril 2 6, 2 0 1 9, at
                                                                                                                                 3: 3 0 P M.
              c c:             Eli M ar k, Es q.
                               A s si st a nt U nit e d St at es Att or n e y ( b y E C F)


                                                                                                                                                  3/ 5/ 2 0 1 9
